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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    Designated Counsel for Service
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3    Sacramento, California 95814
     Telephone (916) 498-5700
4
     Attorney for Defendant
5    NARCISCO GALLEGOS MORALES
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,      )     No. CR-S-05-443 WBS
                                    )
12                   Plaintiff,     )              AMENDED
                                    )     STIPULATION AND ORDER
13        v.                        )     CONTINUING STATUS CONFERENCE
                                    )     AND EXCLUDING TIME
14   JESUS JAVIER SANCHEZ,          )
     ESPIRIDION LUCATERO,           )
15   FRANCISCO LUCATERO, and        )     Date: August 16, 2006
     NARCISCO GALLEGOS MORALES.     )     Time: 9:00 a.m.
16                                  )     Judge: William B. Shubb
                     Defendants.    )
17                                  )
18
19         Defendants, JESUS JAVIER HUILTRON SANCHEZ, ESPIRIDION VALDOVINOS
20   LUCATERO, FRANCISCO PEREZ LUCATERO, and NARCISCO GALLEGOS MORALES,
21   through their attorneys, PETER KMETO, ROBERT FORKNER, PERCY MARTINEZ,
22   and DANIEL BRODERICK, respectively, and the United States of America,
23   through its counsel of record, SAMUEL WONG, stipulate and agree to the
24   following:
25        1.   The presently scheduled status conference date of July 26,
26   2006 shall be vacated and the case be rescheduled for further status
27   conference on August 16, 2006 at 9:00 a.m.
28        2.   Counsel for NARCISO GALLEGOS MORALES will be out of the
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1    district appearing at the Ninth Circuit Court of Appeals for oral
2    argument on the presently scheduled date.          Further, negotiations are
3    continuing toward resolution of the case and the parties need
4    additional time to conduct further settlement discussions with the
5    government as counsel for NARCISCO GALLEGOS MORALES has been
6    unavailable to participate in efforts to resolve this case as described
7    in the accompanying Declaration of Daniel J. Broderick.
8          3.    Time from the date of this stipulation to and including the
9    proposed August 16, 2006, status conference shall be excluded from
10   computation of time within which the trial of this matter must be
11   commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
12   3161(h)(8)(A) and (B)(iv) and Local Code T-4, continuity of defense
13   counsel and time for defense counsel to prepare, for conducting further
14   settlement discussions with the government, and to permit defense
15   counsel time to advise their Spanish speaking clients of the
16   ramifications of the proposed plea offers.
17   IT IS SO STIPULATED.
18   Dated:     July 24, 2006                        /s/ Samuel Wong
                                                     _____________________________
19                                                   SAMUEL WONG
                                                     Assistant U.S. Attorney
20
21                                                   /s/ Peter Kmeto
                                                     _____________________________
22                                                   PETER KMETO
                                                     Attorney for Defendant
23                                                   JESUS JAVIER HUILTRON SANCHEZ
24
                                                     /s/ Robert Forkner
25                                                   _____________________________
                                                     ROBERT FORKNER
26                                                   Attorney for Defendant
                                                     ESPIRIDION VALDOVINOS LUCATERO
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     Stip. Continuing Status Conference        2
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1                                                    /s/ Percy Martinez
                                                     ______________________________
2                                                    PERCY MARTINEZ
                                                     Attorney for Defendant
3                                                    FRANCISCO PEREZ LUCATERO
4
                                                     /s/ Daniel S. Broderick
5                                                    _______________________________
                                                     DANIEL S. BRODERICK
6                                                    Attorney for Defendant
                                                     NARCISCO GALLEGOS MORALES
7
8                                            ORDER
9          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
10   ordered that the July 26, 2006 status conference be continued to
11   August 16, 2006 at 9:00 a.m.         The Court finds that the ends of justice
12   to be served by granting a continuance outweigh the best interests of
13   the public and the defendants in a speedy trial.           It is ordered that
14   time from the date of this stipulation to and including the proposed
15   August 16, 2006, status conference shall be excluded from computation
16   of time within which the trial of this matter must be commenced under
17   the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv)
18   and Local Code T-4, continuity of defense counsel and time for defense
19   counsel to prepare, for conducting further settlement discussions with
20   the government, and to permit defense counsel time to advise their
21   Spanish speaking clients of the ramifications of the proposed plea
22   offers.
23   Dated:    July 25, 2006
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     Stip. Continuing Status Conference        3
